            Case 1:22-cv-02541-TNM Document 6 Filed 09/09/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

PENGCHENG SI                                   )
                                               )     Case No. 1:22-cv-02541-TNM
               Plaintiff,                      )
                                               )
       v.                                      )
                                               )
BED BATH & BEYOND                              )
CORPORATION, et al.,                           )
                                               )
               Defendants.                     )
                                               )

                        NOTICE OF SUBSTITUTION OF COUNSEL

       The undersigned, a pro se attorney in the above-captioned case, hereby advises the Court

of the termination of his pro se status and hereby withdraws as counsel. Successor counsel at the

firm of Cohen, Milstein, Sellers & Toll PLLC filed their notices of appearance on behalf of the

plaintiff on September 8, 2022.




Dated: September 9, 2022

                                                     Respectfully submitted,

                                                     ___/s/_Pengcheng Si_________________
                                                     Pengcheng Si
                                                     3712 Powell Lane
                                                     Falls Church, VA 22041
                                                     Tel: (202) 505-4768
                                                     Fax: (202) 688-3892
                                                     Email: sipc.dcfiling@gmail.com
                                                     Plaintiff




                                            Page 1
